             Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 1 of 19




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 8
                                UNITED STATES DISTRICT COURT
 9                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
10
     SHEILA LAROSE,
11                                                      Case No.
                                  Plaintiff,
12                                                      NOTICE OF REMOVAL
            vs.
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     KING COUNTY, WASHINGTON; and
14
     PUBLIC DEFENDER ASSOCIATION
15   D/B/A THE DEFENDER ASSOCIATION
     (TDA),
16
                                  Defendants.
17

18          Defendants, King County, Washington and the Public Defender Association

19   (collectively, “King County”), by and through their undersigned counsel, hereby remove this

20   action from the Superior Court of Washington, Pierce County, to the United States District

21   Court for the Western District of Washington. Removal is based on federal question

22   jurisdiction because a federal question appears on the face of the initial pleading filed by Sheila

23   LaRose. In support of its notice, King County states as follows:

24          1.      On November 2, 2015, Ms. LaRose filed a Complaint against King County, in

25   the Superior Court of Washington, Pierce County. Case No. 15-2-13418-9.

     NOTICE OF REMOVAL - 1
                                                                                         LAW OFFICES
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             Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 2 of 19




 1          2.      On November 5, 2015, King County became aware of the Complaint through

 2   the Pierce County Superior Court’s website. In accordance with 28 U.S.C. § 1446(a) and

 3   Local Civil Rule 101, a copy of the Complaint is attached hereto as Exhibit A. Copies of all

 4   other process, pleadings and orders received by King County are attached as Exhibit B.

 5          3.      King County files this Notice of Removal within thirty days of the date it

 6   became aware of the action. Removal is therefore timely under 28 U.S.C. § 1446(b).

 7   This Court Has Federal Question Jurisdiction

 8          4.      A United States District Court has “original jurisdiction of all civil actions

 9   arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

10          5.      Plaintiff alleges that she was discriminated against on the basis of her sex,

11   marital status, and as retaliation, when King County assigned her to represent a criminal

12   defendant that King County allegedly knew “posed a threat to any female attorney that might

13   be appointed to represent him.” Complaint ¶ 2.13. Plaintiff alleges that her former client

14   proceeded to stalk her, and that she suffered damages resulting therefrom. Complaint ¶¶ 2.35,

15   2.43-47. Plaintiff alleges that she sought help from King County, but her requests “resulted in

16   non-action.” Complaint ¶ 2.32.

17          6.      According to Plaintiff, King County’s alleged conduct violated, among other

18   things, “state and federal laws by failing to provide a non[-]discriminatory work environment;

19   failing to provide a non-hostile work environment free of harassment, and by discriminating,

20   retaliating, and aiding and abetting discrimination[] based on gender, marital status and / or

21   retaliation.” ¶ 3.1. Therefore, federal question jurisdiction exists over Plaintiff’s claims under

22   28 U.S.C. § 1331 because Plaintiff has plead claims for a violation of federal law.

23          7.      To the extent the Complaint alleges statutory, state common law or other

24   nonfederal claims, this Court has supplemental jurisdiction over any such claims under 28

25   U.S.C. § 1367 because those claims arise out of the same operative facts as Plaintiff’s claims

     NOTICE OF REMOVAL - 2
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              Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 3 of 19




 1   under federal law and “form part of the same case or controversy under Article III of the

 2   United States Constitution.” 28 U.S.C. § 1367(a).

 3            8.    Because some of Plaintiff’s claims arise under the laws of the United States,

 4   removal of this entire cause of action is therefore appropriate.

 5   This Court is the Proper Venue

 6            9.    The original Complaint was filed in Pierce County, Washington. Accordingly,

 7   removal to the United States District Court for the Western District of Washington is proper

 8   because this Court is in the judicial district and division embracing the place where the state

 9   court case was brought and is pending. 28 U.S.C. §§ 1441(a) and 1446(a).

10   Intradistrict Assignment

11            10.   Because this case was initially filed in Pierce County, Washington, assignment

12   to the Tacoma Division is proper pursuant to Local Civil Rule 3(d).

13   Notice

14            11.   Pursuant to 28 U.S.C. §1446(d) King County will promptly give written notice

15   of removal to Plaintiff and will file a copy of the notice with the clerk of Superior Court of

16   Washington, Pierce County.

17            WHEREFORE, Defendants King County and Public Defender Association request this

18   Court assume jurisdiction of this cause, enter such orders and/or judgments necessary to

19   protect its jurisdiction and proceed with this case to its completion.

20            DATED this 30th day of November, 2015.

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     NOTICE OF REMOVAL - 3
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           Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 4 of 19




 1
                                  CALFO HARRIGAN LEYH & EAKES LLP
 2
                                  By     s/ Patricia A. Eakes
 3

 4                                By     s/ Damon C. Elder

 5                                By     s/ Andrew R.W. Hughes
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 6                                       Damon C. Elder, WSBA #46754
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11
                                  Attorneys for Defendants King County, Washington and
12                                Public Defender Association d/b/a The Defender
                                  Association (TDA)
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     NOTICE OF REMOVAL - 4
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            Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 5 of 19




 1                                  CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on December 1, 2015, I electronically filed the foregoing with the
 4   Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 5   following: Mary Ruth Mann, James W. Kytle and Mann & Kytle PLLC                  , and I hereby
 6   certify that I have mailed by United States Postal Service the document to the following non
 7   CM/ECF participants:_N/A___________.
 8                                                       s/ D. Yvette Chambers
                                                         D. Yvette Chambers
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     NOTICE OF REMOVAL - 5
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Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 6 of 19




         EXHIBIT A
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 7 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 8 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 9 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 10 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 11 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 12 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 13 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 14 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 15 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 16 of 19




         EXHIBIT B
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 17 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 18 of 19
Case 3:15-cv-05872-RJB Document 1 Filed 12/01/15 Page 19 of 19
